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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010

SECTION: J
This Document Relates to:
JUDGE BARBIER
No. 12-970
MAGISTRATE SHUSHAN

ORDER
Considering the foregoing Class Counsel’s Motion to Strike Unsubstantiated Exhibits
and to Contest Misstatements Concerning Specific Claims:
IT IS ORDERED that the motion is GRANTED and that the Declaration of Allison
Rumsey and Appendices A and B attached thereto [Rec. Doc. 11819-2] are STRICKEN from the

record in this matter.

Done this day of December, 2013.

DISTRICT COURT JUDGE CARL BARBIER
